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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )
           v.                        )
                                     )                4:05CR3025
LILLIAN RUIZ,                        )
                                     )
                Defendant.           )
                                     )                   ORDER




     Upon consideration of the defendant’s motion for
transportation,

     IT IS ORDERED,

     The motion, filing 245, is granted in part. The United
States Marshal shall provide non-custodial travel expenses to the
defendant so she can travel from Lincoln, Nebraska to Las Vegas,
Nevada following her sentencing proceeding currently scheduled on
September 26, 2006. Said travel may be the less expensive of
either ground transportation with subsistence or air travel with
subsistence.

     DATED this 16th day of August, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
